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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

     UNITED STATES OF AMERICA
                                                               CRIMINAL ACTION

                    v.                                         NO. 1:12-CR-323-WSD-ECS

     EDWARD K. KIM,

                            Defendant.

                          CONSENT PRELIMINARY ORDER OF FORFEITURE

          The       Court    having      accepted      the    guilty     plea    of    Defendant

     Edward K. Kim to Count Six of the Indictment, pursuant to which

     the Government          sought      forfeiture     of   certain property under              18

     U.S.C.    §    924(d)    and 28 U.S.C.        §    2461(c),     and the Court having

     determined,         based    upon    the    Defendant's        guilty    plea,    that     the

     property described below is subject to forfeiture pursuant to 18

     U.S.C. § 924(d) and 28 U.S.C. § 2461(c), that the Government has

     established the          requisite       nexus    between      said property and the

     offense       charged       in   Count      Six    of    the    Indictment,        and     the

     Defendant having consented to this Consent Preliminary Order of

     Forfei ture becoming final             as    to him,     being made a part of his

     sentence and being included in the judgment against him;

          IT       IS    HEREBY ORDERED that           the   Defendant       shall    forfeit    to

     the Government the following property,                     pursuant to 18 U. S. c.           §
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924 (d)      and           28    U.S.C.       §        2461 (c),      as       property    involved     in     the

commission of the offense to which he pleaded guilty:

        a.         . 38         caliber           Smith        &    Wesson         revolver,      serial       no .

                   0328969;

        b.         Assorted ammunition.

        IT        IS       HEREBY ORDERED that upon entry of                               this   order,       the

United States Attorney General,                                    or his designee,             is authorized

to seize the above-listed property in accordance with Fed.                                                      R.

Crim. P. 32.2 (b) (3).

        The United States                         shall publish notice of this Order and

its intent to dispose of the property in accordance with Fed. R.

Crim.        P.        32.2(b) (6)           and        in     such        a    manner    as    described       in

Supplemental Rule G(4) (a) (iii)                               and (iv)          of the Federal Rules of

Civil Procedure. The United States shall send written notice, in

accordance                 with      Supplemental               Rule           G(4) (b) (iii)-(v),      to     any

person who                 reasonably appears                  to be a potential claimant with

standing to contest the forfeiture of the above-listed property

in the ancillary proceeding.

        Pursuant                to   21    U. S. C.       §    853 (n) (2),        as   incorporated by 28

U.S.C.       §     2461 (c),          any person,               other than           the named Defendant,

asserting              a    legal         interest        in    the property may within                  thirty

days of the final pUblication of the notice or their receipt of

the     notice,             whichever             is     earlier,          petition       the   Court    for     a
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hearing       without        a    jury     to    adjudicate         the        validity          of    their

alleged       interest       in    the     property and           for     an    amendment             to   the

order     of     forfeiture.          Any        petition        filed     by        a     third       party

asserting       an    interest       in     the property           shall        be       signed by the

peti tioner         under    penalty        of       perjury     and     shall       set       forth       the

nature and extent of the petitioner's right,                                   title or interest

in the property,             the time and circumstance of the petitioner's

acquisition          of     the   right,         title      or   interest,           any       additional

facts supporting the petitioner's claim and the relief sought.

        After       the    disposition          of    any motion         filed           under    Fed.      R.

Crim.    P.     32.2(c) (1) (A)          and before          a   hearing        on       the     petition,

discovery may be conducted in accordance with the Federal Rules

of   Civil       Procedure          upon     a       showing      that     such           discovery         is

necessary or desirable to resolve factual issues.

        The United States                shall       have   clear      title     to       the property

following       the       Court's    disposition of all                 third-party              interests

or if none,          following the expiration of the period provided in

21 U. S. C.     §    853 (n) (2)     for the filing of third-party petitions.

The Court shall retain jurisdiction to enforce this order and to

amend it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).
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       IT   IS   FURTHER ORDERED that,    pursuant      to Fed.   R.   Crim.   P.

32.2 (b) (4), this Preliminary Order of Forfeiture is hereby final

as to the Defendant.         If no third party filed a timely claim,

this   order     shall   become   the   final   order    of   forfeiture,      as

provided by Fed. R. Crim. P. 32.2(c) (2).



       SO ORDERED this              day of :l"",,""~           , 2013.




                                          WILLIAM    DUFFEY,
                                          UNITED STATES DISTRICT


Presented by:

     Dahil D. Goss
DAHIL D. GOSS
ASSISTANT U.S. ATTORNEY
GEORGIA BAR NO. 302905



Consented to:


/s/ Matthew Dodge by Dahil Goss with express permission
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